        Case 1:19-cv-02367-ABJ Document 103-1 Filed 12/07/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
PETER STRZOK,                                         )
                        Plaintiff,                    )
         v.                                           )
                                                      )
                                                              Civil Action No. 19-2367 (ABJ)
ATTORNEY GENERAL MERRICK GARLAND, )
in his official capacity as Attorney General, et al., )
                                                      )
                        Defendants.                   )
                                                      )
                                                      )
LISA PAGE,                                            )
                        Plaintiff,                    )
         v.                                           )
                                                      )       Civil Action No. 19-3675 (TSC)
U.S. DEPARTMENT OF JUSTICE, et al.,                   )
                                                      )
                        Defendants.                   )
                                                      )

                                    [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ Motion to Reenter Pretrial Schedule, along with

Defendants’ response and Plaintiffs’ reply, Plaintiffs’ motion is GRANTED for good cause

shown.1 It is hereby ORDERED that these cases shall proceed on the following pretrial schedule:




1
  The above-captioned cases have been consolidated for purposes of discovery. The parties in
Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S. Department of
Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General Merrick Garland, in
his official capacity; and FBI Director Christopher A. Wray, in his official capacity. The parties
in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants DOJ and FBI.
        Case 1:19-cv-02367-ABJ Document 103-1 Filed 12/07/22 Page 2 of 3




             Date                 Event
             Friday, January      Defendants to produce all documents covered by
             13, 2023             the August 10, 2022 Minute Order.


             Friday, February     FBI 30(b)(6) deposition to be completed by this
             24, 2023             date.


             Wednesday,           All discovery to be completed in Strzok v. Garland
             March 15, 2023       and Page v. DOJ.

             Wednesday,           Submission of joint status report on whether the
             March 22, 2023       cases should remain consolidated for purposes of
                                  summary judgment or trial.

             Wednesday,           Status conference. The schedule for dispositive
             March 29, 2023       motions will be established at this time if
                                  necessary.


       The Court previously ordered the parties to complete all discovery in these actions by

August 15, 2022. See Strzok v. Garland, Civil Action No. 19-2367 (ABJ), Minute Order (Feb. 28,

2022); Page v. Dep’t of Justice, Civil Action No. 19-3675 (TSC), Minute Order (Feb. 28, 2022).

As explained in Plaintiffs’ motion, the parties completed the bulk of discovery by that date, but

they agreed to continue conducting certain limited discovery past August 15 and have continued

to coordinate on discovery matters in these actions. Consistent with this history, any ongoing

discovery shall be limited to matters within the scope of the parties’ prior agreements, matters to

which the parties may mutually agree in the future, and any discovery ordered or permitted by the

Court. The parties have not sought, and the Court does not authorize, a general extension of the

August 15, 2022 close-of-discovery deadline.

       The Court consolidated these cases for the purposes of discovery only. Following the filing

of the parties’ joint status report on or before [March 22, 2023], the Court shall determine whether

the cases will remain consolidated for summary judgment proceedings or trial.

                                                 2
Case 1:19-cv-02367-ABJ Document 103-1 Filed 12/07/22 Page 3 of 3




IT IS SO ORDERED this the _______ day of _________________, 2022.



                                       AMY BERMAN JACKSON
                                       United States District Judge




                                   3
